AO 245B (W D N C R ev. 2/11) Judgm ent in a C rim inal C ase



                                                          United States District Court
                                                    For The W estern District of North Carolina

UNITED STATES OF AMERICA                                                               JUDGM ENT IN A CRIM INAL CASE
                                                                               (For Offenses Com m itted On or After Novem ber 1, 1987)
         V.
                                                                               Case Num ber: DNCW 509CR000025-006
ALBERTO CARRANZA-FLORES,
a/k/a Javier Cam pos Monte
                                                                               USM Num ber: 23951-058

                                                                               Larry David W olfe & Keith Evra
                                                                               Defendant’s Attorneys,

THE DEFENDANT:

X        Pleaded guilty to count(s) 1 of the second superseding bill of indictm ent.
         Pleaded nolo contendere to count(s) which was accepted by the court.
         W as found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):


                                                                                                Date Offense
 Title and Section                    Nature of Offense                                         Concluded                 Counts

 21:846 & 841(b)(1)(A)                Conspiracy to distribute and to possess with intent to    12/15/09                  1 of the second
                                      distribute cocaine and cocaine base, Sch. II controlled                             superseding bill
                                      substances and m arijuana, a Sch. I controlled                                      of indictm ent
                                      substance



      The defendant is sentenced as provided in pages 2 through 5 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

         The defendant has been found not guilty on count(s) .
X        First superseding bill of indictm ent and Count 4 of the second superseding bill of indictm ent are dism issed on the m otion of
         the United States.

        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this judgm ent are fully
paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States attorney of any m aterial change in
the defendant’s econom ic circum stances.

                                                                                      Date of Im position of Sentence: June 15, 2011




                                                                                      Date:         June 22, 2011




                     Case 5:09-cr-00025-KDB-DCK                   Document 185          Filed 06/22/11      Page 1 of 6
AO 245B (W D N C R ev. 2/11) Judgm ent in a C rim inal C ase



Defendant: ALBERTO CARRANZA-FLORES                                                                             Judgm ent-Page 2 of 5
Case Num ber: DNCW 509CR000025-006

                                                                   IM PRISONM ENT

      The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a term of
THIRTY (30) MONTHS.




X        The Court m akes the following recom m endations to the Bureau of Prisons:

         That defendant be designated to a facility as close to his hom e in Statesville, NC, as possible.
         That defendant support his dependents while incarcerated under the Inm ate Financial Responsibility Program .




X        The Defendant is rem anded to the custody of the United States Marshal.

         The Defendant shall surrender to the United States Marshal for this District:

                            As notified by the United States Marshal.

                            At___a.m . / p.m . on ___.

         The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                            As notified by the United States Marshal.

                            Before 2 p.m . on ___.

                            As notified by the Probation Office.

                                                                      RETURN

         I have executed this Judgm ent as follows:




      Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.




___________________________________________
         United States Marshal


                                                                                    By:
_______________________________________
                                                                                                  Deputy Marshal




                     Case 5:09-cr-00025-KDB-DCK                    Document 185     Filed 06/22/11    Page 2 of 6
AO 245B (W D N C R ev. 2/11) Judgm ent in a C rim inal C ase



Defendant: ALBERTO CARRANZA-FLORES                                                                                                            Judgm ent-Page 3 of 5
Case Num ber: DNCW 509CR000025-006

                                                                    SUPERVISED RELEASE

         Upon release from im prisonm ent, the defendant shall be on supervised release for a term of FIVE (5) YEARS.

         The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant poses a low
         risk of future substance abuse.

                                                      STANDARD CONDITIONS OF SUPERVISION

         The defendant shall com ply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.       The defendant shall not com m it another federal, state, or local crim e.
2.       The defendant shall refrain from possessing a firearm , destructive device, or other dangerous weapon.
3.       The defendant shall pay any financial obligation im posed by this judgm ent rem aining unpaid as of the com m encem ent of the sentence of probation or the
         term of supervised release on a schedule to be established by the C ourt.
4.       The defendant shall provide access to any personal or business financial inform ation as requested by the probation officer.
5.       The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.       The defendant shall not leave the W estern D istrict of N orth C arolina without the perm ission of the C ourt or probation officer.
7.       The defendant shall report in person to the probation officer as directed by the Court or probation officer and shall subm it a truthful and com plete written
         report within the first five days of each m onth.
8.       A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release
         from custody of the Bureau of Prisons.
 9.      The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.      The defendant shall support his or her dependents and m eet other fam ily responsibilities.
11.      The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by
         the probation officer.
12.      The defendant shall notify the probation officer within 72 hours of any change in residence or em ploym ent.
13.      The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or adm inister any narcotic or other
         controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.      The defendant shall participate in a program of testing and treatm ent or both for substance abuse if directed to do so by the probation officer, until such
         tim e as the defendant is released from the program by the probation officer; provided, however, that defendant shall subm it to a drug test within 15 days
         of release on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions
         of 18:3563(a)(5) or 18:3583(d), respectively.
15.      The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adm inistered.
16.      The defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any person convicted of a felony unless
         granted perm ission to do so by the probation officer.
17.      The defendant shall subm it his person, residence, office, vehicle and/or any com puter system including com puter data storage m edia, or any electronic
         device capable of storing, retrieving, and/or accessing data to which they have access or control, to a search, from tim e to tim e, conducted by any U.S.
         Probation Officer and such other law enforcem ent personnel as the probation officer m ay deem advisable, without a warrant. The defendant shall warn
         other residents or occupants that such prem ises or vehicle m ay be subject to searches pursuant to this condition.
18.      The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it confiscation of any contraband
         observed by the probation officer.
19.      The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcem ent officer.
20.      The defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent agency without the perm ission of the
         C ourt.
21.      As directed by the probation officer, the defendant shall notify third parties of risks that m ay be occasioned by the defendant’s crim inal record or personal
         history or characteristics, and shall perm it the probation officer to m ake such notifications and to confirm the defendant’s com pliance with such notification
         requirem ent.
22.      If the instant offense was com m itted on or after 4/24/96, the defendant shall notify the probation officer of any m aterial changes in defendant’s econom ic
         circum stances which m ay affect the defendant’s ability to pay any m onetary penalty.
23.      If hom e confinem ent (hom e detention, hom e incarceration or curfew) is included you m ay be required to pay all or part of the cost of the electronic
         m onitoring or other location verification system program based upon your ability to pay as determ ined by the probation officer.
24.      The defendant shall cooperate in the collection of D N A as directed by the probation officer.
25.      The defendant shall participate in transitional support services under the guidance and supervision of the U .S. Probation Officer. The defendant shall
         rem ain in the services until satisfactorily discharged by the service provider and/or with the approval of the U .S. Probation Officer.


ADDITIONAL CONDITIONS:

26.      In accordance with established procedures provided by the Im m igration and Naturalization Act, 8 U.S.C . § 1101 et seq, the defendant, upon release from
         im prisonm ent, is to be surrendered to a duly-authorized im m igration official for deportation. As a further condition of supervised release, if ordered
         deported, the defendant shall rem ain outside the United States. Should deportation not occur, the defendant shall report within 72 hours of release from
         the custody of the Bureau of Prisons or the Im m igrations and C ustom s Enforcem ent Agency to the probation office in the district to which the defendant is
         released.




                     Case 5:09-cr-00025-KDB-DCK                            Document 185                Filed 06/22/11              Page 3 of 6
AO 245B (W D N C R ev. 2/11) Judgm ent in a C rim inal C ase


Defendant: ALBERTO CARRANZA-FLORES                                                                                     Judgm ent-Page 4 of 5
Case Num ber: DNCW 509CR000025-006

                                                               CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


                  ASSESSM ENT                                                 FINE                                 RESTITUTION

                       $100.00                                                $0.00                                    $0.00



              The determ ination of restitution is deferred until              . An Amended Judgment in a Criminal Case (AO 245C) will be
              entered after such determ ination.

                                                                             FINE


        The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the Schedule of
Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X             The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:

X             The interest requirem ent is waived.

              The interest requirem ent is m odified as follows:


                                                          COURT APPOINTED COUNSEL FEES

              The defendant shall pay court appointed counsel fees.

              The defendant shall pay $                          Towards court appointed fees.




                     Case 5:09-cr-00025-KDB-DCK                         Document 185        Filed 06/22/11     Page 4 of 6
AO 245B (W D N C R ev. 2/11) Judgm ent in a C rim inal C ase


Defendant: ALBERTO CARRANZA-FLORES                                                                                     Judgm ent-Page 5 of 5
Case Num ber: DNCW 509CR000025-006


                                                                 SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

         A     X            Lum p sum paym ent of $ 100.00 due im m ediately, balance due

                            Not later than        , or
                            In accordance           ©,         (D) below; or

         B                  Paym ent to begin im m ediately (m ay be com bined with         ©,        (D) below); or

         C                  Paym ent in equal            (E.g. weekly, m onthly, quarterly) installm ents of $          To com m ence
                              (E.g. 30 or 60 days) after the date of this judgm ent; or

         D                  Paym ent in equal             (E.g. weekly, m onthly, quarterly) installm ents of $        To com m ence
                              (E.g. 30 or 60 days) after release from im prisonm ent to a term of supervision. In the event the entire
                            am ount of crim inal m onetary penalties im posed is not paid prior to the com m encem ent of supervision, the
                            U.S. Probation Officer shall pursue collection of the am ount due, and m ay request the court to establish or
                            m odify a paym ent schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court costs:
X        The defendant shall forfeit the defendant’s interest in the following property to the United States: property identified in the
         Consent Order and Judgm ent of Forfeiture, docum ent no. 112 filed on 4/29/10.


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of
im prisonm ent paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary penalty
paym ents are to be m ade to the United States District Court Clerk, 200 W est Broad Street, Room 100, Statesville, NC 28677,
except those paym ents m ade through the Bureau of Prisons’ Inm ate Financial Responsibility Program . All crim inal m onetary
penalty paym ents are to be m ade as directed by the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) com m unity restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




                     Case 5:09-cr-00025-KDB-DCK                         Document 185     Filed 06/22/11          Page 5 of 6
AO 245B (W D N C R ev. 2/11) Judgm ent in a C rim inal C ase



Defendant: ALBERTO CARRANZA-FLORES                                                                              Judgm ent-Page 6 of 6
Case Num ber: DNCW 509CR000025-006

                                                          STATEMENT OF ACKNOW LEDGMENT

I understand that m y term of supervision is for a period of _______m onths, com m encing on ____________________ .

Upon a finding of a violation of probation or supervised release, I understand that the court m ay (1) revoke supervision, (2) extend
the term of supervision, and/or (3) m odify the conditions of supervision.

I understand that revocation of probation and supervised release is m andatory for possession of a controlled substance,
possession of a firearm and/or refusal to com ply with drug testing.

These conditions have been read to m e. I fully understand the conditions and have been provided a copy of them .




(Signed)       ____________________________________ Date: _________________
                Defendant

(Signed)       ____________________________________ Date: _________________
                U.S. Probation Office/Designated W itness




                     Case 5:09-cr-00025-KDB-DCK                   Document 185   Filed 06/22/11        Page 6 of 6
